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10   Attorneys for Christina W. Lovato, Chapter 7 Trustee

11                             UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NEVADA
12
13    In re                                            Lead Case No.: BK-19-50102-gs
                                                       (Chapter 7)
14    DOUBLE JUMP, INC.
                                                       Substantively consolidated with:
15    Debtor.                                           19-50130-gs DC Solar Solutions, Inc.
16                                                      19-50131-gs DC Solar Distribution, Inc.
                                                        19-50135-gs DC Solar Freedom, Inc.
17
                                                       Adversary No.: 22-05001-gs
18    CHRISTINA W. LOVATO,
19                Plaintiff,                           STIPULATION AND PROTECTIVE
                                                       ORDER REGARDING PRODUCTION
20    v.                                               OF DOCUMENTS

21    AHERN RENTALS, INC. and XTREME                   Hearing Date: N/A
      MANUFACTURING, LLC,                              Hearing Time: N/A
22
23               Defendants.

24            This Stipulation (“Stipulation”) is entered into by and between Meaghan E. Murphy of
25   Meland Budwick, P.A. on behalf of Christina W. Lovato, Trustee (“Trustee”) and Kevin
26   McCarrell of Fox Rothschild LLP on behalf of Defendants Ahern Rentals, Inc. (“Ahern”) and
27   Xtreme Manufacturing, LLC (“Xtreme” and together with Ahern, the “Defendants”) (the
28   Defendants and the Trustee are collectively the “Parties”) in the above-captioned adversary



                                                   1
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     proceeding (“Adversary”). The Bankruptcy Court order approving the Stipulation (the “Protective
 1
     Order”) shall be deemed effective on the date it is entered by the clerk of the Court (the “Effective
 2
     Date”).
 3
               1.   On May 20, 2020, the Trustee and Xtreme entered into a Stipulation and Protective
 4
     Order Regarding Production of Documents, which was filed in the Lead Case on June 2, 2020
 5
     (Docket No. 1884 in 19-50102-gs) (the “Xtreme Stipulation”).
 6
               2.   On May 21, 2020, the Court entered its Order approving the Xtreme Stipulation in
 7
     the Lead Case (Docket No. 1918 in 19-50102-gs) (the “Xtreme Protective Order”).
 8
               3.   On June 1, 2020, the Trustee and Ahern entered into a Stipulation and Protective
 9
     Order Regarding Production of Documents, which was filed in the Lead Case on June 2, 2020
10
     (Docket No. 1915 in 19-50102-gs) (the “Ahern Stipulation” and together with the Xtreme
11
     Stipulation, the “Prior Stipulations”).
12
               4.   On June 1, 2020, the Court entered its Order Approving Stipulation and Protective
13
     Order Regarding Production of Documents in the Lead Case (Docket No. 1918 in 19-50102-gs)
14
     (the “Ahern Protective Order” and together with the Xtreme Protective Order, the “Prior
15
     Protective Orders”).
16
               5.   On August 26, 2022, the Trustee propounded her First Requests for Production of
17
     Documents upon Defendants, which seeks the production of certain documents from the
18
     Defendants, and may propound future discovery requests seeking additional documents.
19
               6.   The Parties have engaged in good faith discussions and have agreed that the terms
20
     of the Prior Stipulations and Prior Protective Orders shall apply in equal force and effect to the
21
     Defendants’ production of documents in response to the Trustee’s current and future discovery
22
     requests in this Adversary Proceeding.
23
      DATED: September 27, 2022.                          DATED: September 27, 2022.
24
25    MELAND BUDWICK, P.A.                                FOX ROTHSCHILD LLP

26    /s/ Meghan E. Murphy                                /s/Kevin McCarrell
      Meaghan E. Murphy, Esq.                             Kevin McCarrell, Esq.
27
      Attorneys for Plaintiff Christina W. Lovato         Attorney for Defendants Ahern Rentals, Inc.
28                                                        and Xtreme Manufacturing, LLC



                                                      2
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                                     CERTIFICATE OF SERVICE
 1
            I certify that on September 27, 2022, I caused to be served the following document(s):
 2
                           STIPULATION AND PROTECTIVE ORDER
 3
                          REGARDING PRODUCTION OF DOCUMENTS
 4          I caused to be served the above-named document(s) as indicated below:
 5          ✔ a. Via ECF to:
 6
                   ALEXANDER E. BRODY abrody@melandbudwick.com
 7                 ltannenbaum@melandbudwick.com ltannenbaum@ecf.courtdrive.com
                   mrbnefs@yahoo.com
 8                 MICHAEL S. BUDWICK mbudwick@melandbudwick.com
                   ltannenbaum@melandbudwick.com ltannenbaum@ecf.courtdrive.com
 9                 MARK J. CONNOT mconnot@foxrothschild.com dloffredo@foxrothschild.com
10                 SOLOMON B. GENET sgenet@melandbudwick.com
                   ltannenbaum@melandbudwick.com ltannenbaum@ecf.courtdrive.com
11                 JEFFREY L HARTMAN notices@bankruptcyreno.com
                   abg@bankruptcyreno.com
12                 CHRISTINA W. LOVATO trusteelovato@att.net NV26@ecfcbis.com
                   M. KEVIN MCCARRELL kmccarrell@foxrothschild.com
13                 MEAGHAN E. MURPHY mmurphy@melandbudwick.com
14
             ✔ b. Direct Email to:
15
16                  Mark J. Connot, Esq.
                    Kevin M. Sutehall, Esq.
17                  Colleen E. McCarty, Esq.
                    mconnot@foxrothschild.com
18                  ksutehall@foxrothschild.com
19                  cmccarty@foxrothschild.com

20          ✔ c. Via Mail Service: Regular, first-class United States mail, postage fully pre-paid,
     addressed to:
21
22                 Ahern Rentals, Inc.
                   1401 Mineral Ave.
23                 Las Vegas, NV 89106
24
                   Xtreme Manufacturing, LLC
25                 8350 Eastgate Rd.
                   Henderson, NV 89015
26
27          DATED: September 27, 2022.

28                                       /s/ Meaghan E. Murphy
                                         Meaghan E. Murphy, Esq.


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